         Case 8-20-08048-ast          Doc 17   Filed 08/17/20   Entered 08/18/20 15:20:52




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:                                                Chapter 11

ORION HEALTHCORP, INC.                                 Case No. 18-71748 (AST)

                         Debtors.                      Jointly Administered
HOWARD M. EHRENBERG, in his
capacity of Liquidating Trustee of Orion
Healthcorp, Inc., et al,

                        Plaintiffs,                    Adv. Pro. No. 8-20-08048-ast

          - against -

ELIZABETH KELLY; FIDELITY
NATIONAL TITLE INSURANCE
COMPANY,
                Defendants.




                         SO ORDERED STIPULATION EXTENDING
                         DEADLINE TO RESPOND TO COMPLAINT

          WHEREAS, Defendant Fidelity National Title Insurance Company (“FNTIC”) was

served with the summons and complaint on or about May 11, 2020. Defendant, does not

challenge personal jurisdiction and waives any objection to service of process in this adversary

proceeding

          WHEREAS, Defendant, FNTIC deadline under Federal Rule of Bankruptcy Procedure

7012(a) to answer or otherwise respond to the Complaint in this adversary proceeding was June

7, 2020; and

          WHEREAS, the parties to this Stipulation previously agreed to extend Defendant

FNTIC’s response deadline through August 7, 2020 and hereby stipulate to further extend

FNTIC’s response deadline to September 7, 2020.
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       NOW THEREFORE, Plaintiff and Defendant FNTIC hereby stipulate and agree, and on

Court approval hereof it shall be ordered, that Defendants’ deadline to answer or otherwise

respond to the Complaint is hereby extended through September 7, 2020.


August 5, 2020                                        August 7, 2020


FIDELITY NATIONAL                                     PACHULSKI STANG ZIEHL
LAW GROUP                                             & JONES, LLP
Attorneys for Defendant Fidelity                      Attorneys for Plaintiff
National Title Insurance Company


/s/ Joyce A. Davis                                      /s/ Jeffrey P. Nolan
Joyce A. Davis, Esq. (JD3627)                         Ilan Scharf, Esq.
                                                      Jeffrey P. Nolan, Esq.
                                                      (Admitted pro hac vice)




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 Dated: August 17, 2020                                            Alan S. Trust
        Central Islip, New York                           United States Bankruptcy Judge



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